                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                                 WESTERN DIVISION

 UNITED STATES OF AMERICA,
                    Plaintiff,                           No. CR 07-4056-MWB
 vs.                                              MEMORANDUM OPINION AND
                                                 ORDER REGARDING PLAINTIFF’S
                                                   MOTION FOR PRELIMINARY
 MICHAEL INGRAM,                                      DETERMINATION OF
                                                   ADMISSIBILITY OF CERTAIN
                                                  EVIDENCE AND DEFENDANT’S
                    Defendant.                    CROSS-MOTION TO EXCLUDE
                                                        SUCH EVIDENCE


                                   ____________________

           Defendant Michael Ingram is one of two defendants now facing trial, set to begin
on March 3, 2008, on a charge of conspiracy to distribute and to possess with intent to
distribute 50 grams or more of crack cocaine. See Superseding Indictment (docket no.
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23).           On February 25, 2008, the prosecution filed its Motion For Preliminary
Determination Of Admissibility Of Certain Evidence (docket no. 111), and on February
27, 2008, filed a Supplement To Its Motion For Preliminary Determination Of
Admissibility Of Certain Evidence (docket no. 116), which are now before the court. In
its motion, the prosecution seeks an order granting preliminary admission of this


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        More specifically, the Superseding Indictment charges that, from about 2006
through about August 7, 2007, the defendants knowingly and intentionally conspired with
each other and with other persons, known and unknown to the Grand Jury, to distribute
and to possess with intent to distribute 50 grams or more of a mixture of substance
containing a detectable amount of cocaine which contained cocaine base, commonly called
“crack cocaine.”


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defendant’s prior conviction, on October 24, 2001, in Illinois state court, for
“manufacture/delivery of a controlled substance.” In its Supplement, the prosecution
explains that the prosecutor requested and received more specific information regarding
the circumstances of the prior offense, including charging documents and a police report.
From his review of the charging documents, the prosecutor states that he has found that
the offense was charged as possession with intent to deliver less than 1 gram of a
controlled substance containing cocaine, and from his review of the police report, he has
found, inter alia, that police seized cash and baggies containing a white rock substance
from the defendant after observing the defendant being given cash by three pedestrians to
each of whom he provided something from a box. On February 28, 2008, defendant
Michael Ingram filed his Resistance To Government Motion For Preliminary
Determination Of Admissibility Of 404(b) Evidence (docket no. 117). In his Resistance,
defendant Michael Ingram requests that the court deny the prosecution’s motion and,
instead, enter an order in limine precluding the prosecution from introducing the evidence
in question at trial.
       The prosecution’s motion for pretrial determination of admissibility of evidence was
filed well after the deadline for pretrial evidentiary motions set forth in the August 28,
2007, Trial Management Order. See Trial Management Order (docket no. 9), § IV(B)
(“All trial related motions, including motions in limine, must be filed as soon as
practicable, but at least fourteen days before the commencement of trial”). Moreover, the
prosecution does not state any reason why it was not “practicable” to file its present
motion by the deadline, see id., where the very prior conviction at issue is identified in the
October 26, 2007, Superseding Indictment. See Superseding Indictment (docket no. 23).
Thus, the prosecution’s motion could simply be denied as untimely. Nevertheless, the



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court will consider the merits of the prosecution’s motion, because the admissibility of the
prior conviction will likely arise at trial.
       The prosecution contends that this defendant’s prior conviction is admissible
pursuant to Rule 404(b) of the Federal Rules of Evidence and applicable case law, because
the prior conviction and the charged offense involve similar conduct (delivery of controlled
substances, and more specifically, crack cocaine); the prior conviction occurred in the city
that evidence will show is the place where the conspirators acquired the crack cocaine at
issue on the present charges; the prior conviction is close in time (2001) to the conduct at
issue in this case (from about 2006 through August 7, 2007); and the prior conviction,
thus, constitutes relevant evidence of the defendant’s motive, intent, plan, and/or absence
of mistake or accident in committing the charged offense. In his resistance, defendant
Michael Ingram argues that the evidence of his prior conviction should be excluded,
because there is no evidence that the prior conviction, some five years before the conduct
alleged in this case, has any temporal relevancy to the charged offense; that the prior
conviction does not show motive or intent to join a conspiracy to distribute controlled
substances and, as such, is not probative of any element of the charged offense; that the
evidence will be introduced solely to prove his propensity to engage in criminal
misconduct; and that the admission of such evidence would result in undue prejudice under
Rule 403, because the jury would be unable to view the prior conviction as anything other
than propensity evidence.
       Rule 404(b) prohibits admission of prior convictions and “bad acts” simply to show
a propensity to commit a charged offense, but does permit such evidence to be admitted
for “other purposes, such as proof of motive, opportunity, intent, preparation, plan,
knowledge, identity, or absence of mistake or accident.” FED. R. EVID. 404(b). The



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Eighth Circuit Court of Appeals has explained the scope of admissibility of evidence
pursuant to Rule 404(b), as follows:
              While we have interpreted Rule 404(b) to be a rule of
              inclusion, see United States v. Sykes, 977 F.2d 1242, 1246
              (8th Cir. 1992), this interpretation does not give the
              government the unhindered ability to introduce evidence of
              prior crimes. Instead, the evidence of prior crimes must be
              1) relevant to a material issue; 2) similar in kind and not
              overly remote in time to the charged crime; 3) supported by
              sufficient evidence; and 4) such that its potential prejudice
              does not substantially outweigh its probative value. See United
              States v. Williams, 308 F.3d 833, 837 (8th Cir. 2002).
United States v. Crenshaw, 359 F.3d 977, 998 (8th Cir. 2004); accord United States v.
Lakoskey, 462 F.3d 965, 979-80 (8th Cir. 2006) (reiterating that Rule 404(b) is a rule of
inclusion and that evidence is admissible under Rule 404(b) if it satisfies the same four-
factor test), cert. denied, ___ U.S. ___, 127 S. Ct. 1388 (2007). Thus, the Eighth Circuit
Court of Appeals will reverse admission of purported Rule 404(b) evidence “‘only when
such evidence clearly had no bearing on the case and was introduced solely to prove the
defendant’s propensity to commit criminal acts.’” United States v. Marquez, 462 F.3d
826, 830 (8th Cir. 2006) (quoting United States v. Thomas, 398 F.3d 1058, 1062 (8th Cir.
2005), with internal quotations omitted).        However, admission of such evidence is
erroneous, for example, where the record shows that the actual use that the prosecution
made of the evidence did not demonstrate that the evidence was used for a permissible
purpose and the court’s limiting instruction failed to mention the prosecution’s ostensible
purpose as a basis for considering the evidence. Crenshaw, 359 F.3d at 1001-02.
       As to the first factor in the test for admissibility of such evidence, relevance to a
material issue, see Lakoskey, 462 F.3d at 979-80; Crenshaw, 359 F.3d at 998, the Eighth
Circuit Court of Appeals has “frequently upheld the admission of prior drug convictions

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to show knowledge and intent when the defendant denied the charged drug offense.”
Marquez, 462 F.3d at 830; accord United States v. Hessman, 493 F.3d 977, 983 (8th Cir.
2007).     Thus, at least as a general matter, defendant Michael Ingram’s prior drug
conviction is relevant to his present charge.
         The second factor—which is whether the prior conviction is “similar in kind” to the
charged offense and not overly remote in time, see Lakoskey, 462 F.3d at 979-80;
Crenshaw, 359 F.3d at 998—is also met here, because the prior conviction involved both
the same controlled substance, crack cocaine, and the same substantive conduct,
distribution, at issue in the charged conspiracy. Moreover, the prior conviction occurred
only four or five years before the conspiracy charged in this case allegedly began, so that,
contrary to defendant Michael Ingram’s contentions, the prior conviction is not so remote
in time as to mitigate substantially its probative value.    See Hessman, 493 F.3d at 983
(upholding admission of prior convictions two and five years before the charged offense
occurred, and quoting United States v. Adams, 401 F.3d 886, 894 (8th Cir.), cert. denied,
546 U.S. 966 (2005), for the proposition that a four-year interval was “well within the
bounds of admission”).
         The third factor, sufficiency of the evidence of the prior offense, Lakoskey, 462
F.3d at 979-30; Crenshaw, 359 F.3d at 998, is not clearly met, although the prosecution’s
Supplement does strongly suggest that the prosecution’s evidence of the prior conviction
will include the charging documents and possibly the police report. If such evidence is
both sufficient and properly limited, this element will also likely be satisfied. See United
States v. Ruiz-Estrada, 312 F.3d 398, 403-04 (8th Cir. 2002) (the government offered
sufficient reliable evidence of a prior conviction in the form of a certified copy of the
criminal complaint and a warrant of commitment).



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       Thus, the first three factors in the test for admissibility under Rule 404(b) support
admission of the evidence of defendant Michael Ingram’s prior conviction.
       The fourth factor, the balance of probative value and prejudice, also does not weigh
against admissibility of the evidence of the prior conviction. See Lakoskey, 462 F.3d at
979-80 (fourth factor is the balance of probative value against prejudice); Crenshaw, 359
F.3d at 998 (same); see also Clark v. Martinez, 295 F.3d 809, 814 (8th Cir. 2002) (Rule
403 applies to evidence otherwise admissible pursuant to Rule 404(b)); United States v.
Mound, 149 F.3d 799, 801-02 (8th Cir. 1998) (same), cert. denied, 525 U.S. 1089 (1999).
Again, because the prior conviction involved the same controlled substance and the same
substantive conduct at issue in the present charge, and is not unduly remote in time, the
probative value of evidence of the prior crack cocaine conviction appears to be substantial.
Furthermore, the potential for unfair prejudice, in the form of conviction of the charged
offense because the defendant engaged in prior conduct involving crack cocaine, will likely
be substantially—if not fully—mitigated by a limiting instruction reminding the jurors that
they may consider this evidence only for purposes permissible under Rule 404(b), not to
decide whether defendant Michael Ingram is guilty of the charged offense. See United
States v. Walker, 470 F.3d 1271, 1275 (8th Cir. 2006) (“[A] limiting instruction
[concerning proper use of evidence of a prior conviction] diminishes the danger of unfair
prejudice arising from the admission of the evidence.”); Marquez, 462 F.3d at 830 (there
was no abuse of discretion in admitting evidence of prior drug convictions where the
district court gave such a limiting instruction); and compare Crenshaw, 359 F.3d at 1001-
02 (the government’s actual use of the evidence of a prior conviction did not demonstrate
that the evidence was used to prove intent and the court’s instruction failed to mention
intent as a basis for considering the evidence).



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      Thus, recognizing that Rule 404(b) is a rule of “inclusion” and that all factors of
the applicable test of admissibility of evidence under the rule have been met, Crenshaw,
359 F.3d at 998, the court concludes that Rule 404(b) supports admission of evidence of
defendant Michael Ingram’s 2001 conviction for manufacture/delivery of crack cocaine.
      THEREFORE, the prosecution’s February 25, 2008, Motion For Preliminary
Determination Of Admissibility Of Certain Evidence (docket no. 111), as supplemented
on February 27, 2008 (docket no. 116), is granted, and defendant Michael Ingram’s cross-
motion in limine concerning the same evidence in his February 28, 2008, Resistance To
Government Motion For Preliminary Determination Of Admissibility Of 404(b) Evidence
(docket no. 117) is denied. Evidence of defendant Michael Ingram’s 2001 conviction for
“manufacture/delivery of a controlled substance” is preliminarily determined to be
admissible.
      IT IS SO ORDERED.
      DATED this 28th day of February, 2008.


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                                               MARK W. BENNETT
                                               U. S. DISTRICT COURT JUDGE
                                               NORTHERN DISTRICT OF IOWA




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